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                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

IN RE: GOOGLE DIGITAL
ADVERTISING ANTITRUST
LITIGATION
____________________

This Document Relates to:

HD Media Company, LLC v.
Google, LLC, et al.
1:21-cv-06796 (PKC)                               Civil Action No. 21-md-3010 (PKC)

AIM Media Indiana Operating, LLC v.               NOTICE OF VOLUNTARY DISMISSAL
Google, LLC, et al.                               WITHOUT PREJUDICE PURSUANT
1:21-cv-06912 (PKC)                               TO FEDERAL RULE OF CIVIL
                                                  PROCEDURE 41(a)(1)
AIM Media Midwest Operating, LLC v.
Google, LLC, et al.
1:21-cv-06884 (PKC)

AIM Media Texas Operating, LLC v.
Google, LLC, et al.
1:21-cv-06888 (PKC)

Clarksburg Publishing, d.b.a. WV News v.
Google, LLC, et al.
1:21-cv-06840 (PKC)

Eagle Printing Company v.
Google, LLC, et al.
1:21-cv-06881 (PKC)

ECENT Corp. v. Google, LLC, et al.
1:21-cv-06817 (PKC)

Gale Force Media, LLC v. Google, LLC, et al.
1:21-cv-06909 (PKC)

Journal, Inc. v. Google, LLC, et al.
1:21-cv-06828 (PKC)

Brown County Publishing Company, Inc., et
al. v. Google, LLC, et al.
1:21-cv-06915 (PKC)

[Caption continued on following page.]
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Something Extra Publishing, Inc. v.
Google, LLC, et al.
1:21-cv-09523 (PKC)

Rome News Media, LLC v. Google, LLC, et al.
1:21-cv-10186 (PKC)

Neighbor Newspapers, Inc. v.
Google, LLC, et al.
1:21-cv-10188 (PKC)

Times Journal, Inc. v. Google, LLC, et al.
1:21-cv-10187 (PKC)

Gould Enterprises, Inc. v. Google, LLC, et al.
1:22-cv-01705 (PKC)

Southern Community Newspapers, Inc. v.
Google, LLC, et al.
1:22-cv-01971 (PKC)

Capital Region Independent Media LLC v.
Google, LLC, et al.
1:22-cv-06997 (PKC)

Appen Media, Inc. v. Google, LLC, et al.
1:22-cv-09810


   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)

       PLEASE TAKE NOTICE that Plaintiffs HD Media Company, LLC; AIM Media Indiana

Operating, LLC; AIM Media Midwest Operating, LLC; AIM Media Texas Operating, LLC;

Clarksburg Publishing, d.b.a. WV News; Eagle Printing Company; ECENT Corp.; Gale Force

Media, LLC; Journal, Inc.; Brown County Publishing Company, Inc.; Multi Media Channels, LLC;

Something Extra Publishing, Inc.; Rome News Media, LLC; Neighbor Newspapers, Inc.; Times

Journal, Inc.; Gould Enterprises, Inc.; Southern Community Newspapers, Inc.; Capital Region

Independent Media LLC; and Appen Media, Inc., pursuant to Federal Rule of Civil Procedure

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41(a)(1)(A)(i), hereby voluntarily dismiss without prejudice the eighteen (18) above captioned

civil actions and all claims asserted against Defendants Google LLC and Meta Platforms, Inc. f/k/a

Facebook, Inc. in those civil actions.

       Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

       (a) Voluntary Dismissal.

           (1) By the Plaintiff.

               (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any

                   applicable federal statute, the plaintiff may dismiss an action without a court

                   order by filing:

                  (i) a notice of dismissal before the opposing party serves either an answer or a

                      motion for summary judgment.

                                         ********************

       Here, Defendants have neither answered Plaintiffs’ Consolidated Amended Complaint, nor

filed a motion for summary judgment. Accordingly, this action may be dismissed without prejudice

and without an Order of the Court.

       DATED: February 27, 2024

                                             Respectfully Submitted,

                                             HD Media Company, LLC; AIM Media Indiana
                                             Operating, LLC; AIM Media Midwest
                                             Operating, LLC; AIM Media Texas Operating,
                                             LLC; Clarksburg Publishing, d.b.a. WV News;
                                             Eagle Printing Company; ECENT Corp.; Gale
                                             Force Media, LLC; Journal, Inc.; Brown County
                                             Publishing Company, Inc.; Multi Media
                                             Channels, LLC; Something Extra Publishing,
                                             Inc.; Rome News Media, LLC; Neighbor
                                             Newspapers, Inc.; Times Journal, Inc.; Gould
                                             Enterprises, Inc.; Southern Community



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                             Newspapers, Inc.; Capital Region Independent
                             Media LLC; Appen Media, Inc.

                             Plaintiffs,

                             /s/ Clayton J. Fitzsimmons
                             Robert P. Fitzsimmons (Admitted Pro Hac Vice)
                             Clayton J. Fitzsimmons (Admitted Pro Hac Vice)
                             Mark A. Colantonio (Admitted Pro Hac Vice)
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                             Counsel for HD Media Company, LLC; AIM Media
                             Indiana Operating, LLC; AIM Media Midwest
                             Operating, LLC; AIM Media Texas Operating,
                             LLC; Clarksburg Publishing, d.b.a. WV News;
                             Eagle Printing Company; ECENT Corp.; Gale
                             Force Media, LLC; Journal, Inc.; Brown County
                             Publishing Company, Inc.; Multi Media Channels,
                             LLC; Something Extra Publishing, Inc.; Rome News
                             Media, LLC; Neighbor Newspapers, Inc.; Times
                             Journal, Inc.; Gould Enterprises, Inc.; Southern
                             Community Newspapers, Inc.; Capital Region
                             Independent Media LLC; Appen Media, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Voluntary Dismissal Without Prejudice

Pursuant to Federal Rule of Civil Procedure 41(a)(1) was filed with the Court’s CM/ECF

electronic filing system, this 27th day of February, 2024.


                                             /s/ Clayton J. Fitzsimmons
                                             Robert P. Fitzsimmons (Admitted Pro Hac Vice)
                                             Clayton J. Fitzsimmons (Admitted Pro Hac Vice)
                                             Mark A. Colantonio (Admitted Pro Hac Vice)
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                                             Counsel for HD Media Company, LLC; AIM Media
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                                             Operating, LLC; AIM Media Texas Operating,
                                             LLC; Clarksburg Publishing, d.b.a. WV News;
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                                             Community Newspapers, Inc.; Capital Region
                                             Independent Media LLC; Appen Media, Inc.




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